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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON


              Jun Dam,                                      Case No. 2:24-cv-00417-SAB
                    Plaintiff,

              v. ​                                          MOTION TO CONFIRM
                                                            JURISDICTION AND STAY
              Mark D. Waldron, ​                            BANKRUPTCY
              Chapter 7 Trustee;                            PROCEEDINGS
              ​
              Pamela M. Egan,
              Attorney to Ch. 7 Trustee;​
              ​
              Potomac Law Group, PLLC;​
              ​
              Giga Watt Bankruptcy Estate,​
              ​
                    Defendants.

        ​

        TO THE HONORABLE JUDGE OF THE DISTRICT COURT:

        INTRODUCTION

        Plaintiff Jun Dam respectfully moves this Court to confirm its jurisdiction over the

        instant matter and to stay all related bankruptcy proceedings in In re Giga Watt



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        Inc., Case No. 18-03197-FPC7 currently pending before the United States

        Bankruptcy Court for the Eastern District of Washington. In support of this Motion,

        Plaintiff states as follows:​

        I. INTRODUCTION

           1.​       Plaintiff filed this action in the U.S. District Court challenging the improper

        diversion of $3 million in settlement funds by the Chapter 7 Trustee of Giga Watt

        Inc.

           2.​ The Bankruptcy Court has never made a determination under 11 U.S.C.

        § 541 as to whether the disputed $3 million settlement funds are property of the

        bankruptcy estate.

           3.​ Under 28 U.S.C. § 1334(b), this Court has concurrent jurisdiction over

        matters related to bankruptcy, including property disputes involving third-party

        claims.

           4.​ The first-filed rule establishes that jurisdiction belongs in this Court, as

        Plaintiff initiated claims here first, before any ruling by the Bankruptcy Court.

           5.​ Plaintiff respectfully requests that this Court confirm jurisdiction over the

        disputed settlement funds and stay all bankruptcy proceedings involving these

        funds until ownership is determined.




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        II. FACTUAL BACKGROUND


           6.​ The Trustee and Perkins Coie LLP entered into a settlement agreement

        resolving certain claims involving prematurely released escrow funds. On

        October 5, 2023, the Bankruptcy Court entered an Order Approving Settlement

        (Dkt. 1031 in Case No. 18-03197-FPC7 - Exhibit A).

           7.​ However, settlement approval under Rule 9019 does not determine

        ownership of funds under § 541.

           8.​ There is no order in the bankruptcy docket explicitly finding that the $3

        million settlement is property of the estate.

           9.​ Plaintiff has filed state-law claims for unjust enrichment, fraud on the

        court, and constructive trust, which are properly before this Court under its

        original and supplemental jurisdiction.​

        III. LEGAL BASIS FOR CONFIRMING JURISDICTION

          A.​ The U.S. District Court Has Jurisdiction Under 28 U.S.C. § 1334(b)


           11.​ 28 U.S.C. § 1334(b) grants this Court concurrent jurisdiction over all civil

        proceedings related to a bankruptcy case.

           12.​ The first-filed rule applies, as Plaintiff initiated this action in the U.S.

        District Court before the Bankruptcy Court ruled on ownership.




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           13.​ The Supreme Court in Stern v. Marshall, 564 U.S. 462, 131 S. Ct. 2594,

        180 L. Ed. 2d 475 (2011) held that state-law claims that do not arise under the

        Bankruptcy Code must be decided by an Article III court.

           14.​ Plaintiff’s claims for unjust enrichment, constructive trust, and fraud on

        the court are state-law claims not derived from bankruptcy law and are

        properly before this Court.


        B. The Bankruptcy Court Lacks Authority to Rule on Ownership Without a ​

        § 541 Determination


           15.​ The Bankruptcy Court has not yet determined whether the $3 million

        settlement is estate property under § 541.

           16.​ Without a § 541 ruling, the Bankruptcy Court lacks authority to

        distribute or claim jurisdiction over these funds.

           17.​ Ahcom, Ltd. v. Smeding, 623 F.3d 1248 (9th Cir. 2010) holds that

        bankruptcy estates cannot claim standing over third-party claims without a clear §

        541 property determination.

           18.​ Plaintiff’s claims exist independent of the bankruptcy estate, meaning

        they belong in the U.S. District Court.




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           19.​ The U.S. Supreme Court decision in Harris v. Viegelahn, 575 U.S. 510,

        135 S. Ct. 1829, 191 L. Ed. 2d 783, 83 U.S.L.W. 4293 (2015) supports Plaintiff’s

        argument that post-conversion funds not already part of the bankruptcy estate at the

        time of conversion do not automatically become estate property. As in Harris, the

        settlement funds at issue here were obtained after conversion from Chapter 11

        to Chapter 7 and must be analyzed under § 541 before they can be treated as estate

        property.​

        C. The Bankruptcy Court Proceedings Should Be Stayed to Prevent

        Irreparable Harm

           19.​ If the Bankruptcy Court improperly asserts jurisdiction, Plaintiff and

        other token holders risk losing their rightful claim to the $3 million.

           20.​ A stay is necessary to prevent premature distribution of funds before a

        final ownership determination is made.

           21.​ Courts routinely stay bankruptcy proceedings when related litigation is

        pending in the U.S. District Court to avoid conflicting rulings and protect due

        process rights.​

        IV. ADDITIONAL CONSTITUTIONAL & FRAUD CLAIMS SUPPORTING

        DISTRICT COURT JURISDICTION

           22.​ The Automatic Stay Was Misapplied



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                ●​ The escrow funds were never part of the bankruptcy estate.

                ●​ The Trustee fraudulently misrepresented the estate’s interest, violating

                   due process.

                ●​ Under Ahcom, Ltd. v. Smeding, bankruptcy estates cannot claim

                   standing over third-party claims without a valid § 541 determination.

          23.​ Fraud on the Court Invalidates the Trustee’s Position

                ●​ The Trustee and Perkins Coie misrepresented material facts to the

                   Bankruptcy Court.

                ●​ Under Hazel-Atlas Co. v. Hartford Co., 322 U.S. 238, 64 S. Ct. 997

                   (1944), fraud on the court invalidates prior rulings and allows District

                   Court intervention.

          24.​ Constructive Trust Should Be Imposed on the $3 Million

                ●​ A constructive trust is warranted because the estate wrongfully

                   allocated the funds.

                ●​ Under Harris Tr. & Sav. Bank v. Salomon Smith Barney Inc., 530 U.S.

                   238, 120 S. Ct. 2180 (2000), improperly obtained assets should be

                   returned to their rightful owners.




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        V. CONSTITUTIONAL CHALLENGE TO BANKRUPTCY COURT

        JURISDICTION


           25.​ Plaintiff challenges the application of 11 U.S.C. § 362(d) on constitutional

        grounds, arguing that:

          ●​ It violates due process by blocking Plaintiff’s access to an independent

             judiciary under Stern v. Marshall, 564 U.S. 462, 131 S. Ct. 2594, 180 L. Ed.

             2d 475 (2011).

          ●​ It forces a non-consenting plaintiff into a non-Article III tribunal in

             violation of Wellness Int’l Network, Ltd. v. Sharif, 575 U.S. 665 (2015).

          ●​ It conflicts with 28 U.S.C. § 157(a), which makes referral to Bankruptcy

             Court discretionary, not mandatory.

           26.​ Under Wellness, a litigant may withdraw consent to bankruptcy court

        jurisdiction at any time. Since Plaintiff has explicitly withdrawn consent, only an

        Article III judge may adjudicate this matter.

           27.​ The continued adjudication of this dispute in Bankruptcy Court despite

        Plaintiff’s explicit withdrawal of consent violates separation of powers and due

        process.




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              28.​ This Court must consider the Article III challenge before enforcing the

        automatic stay against Plaintiff. If the stay is applied, it must be adjudicated by

        the U.S. District Court, not the Bankruptcy Court.​

        VI. REQUESTED RELIEF​

        WHEREFORE, Plaintiff respectfully requests that this Court:

              1.​ Confirm its jurisdiction over this dispute under 28 U.S.C. § 1334(b);

              2.​ Issue an order staying all bankruptcy proceedings related to the $3

        million settlement funds until this Court rules on ownership;

              3.​ Prevent the Trustee from distributing or using the $3 million settlement

        funds pending further order of this Court;

              4.​ Grant such other and further relief as this Court deems just and proper.


        ​       ​      ​     ​      ​       ​    Dated this 18th day of February, 2025 ​
        ​       ​      ​     ​      ​

                             ​      ​       ​    ​      ​      /s/ Jun Dam

                                                               Jun Dam (Pro Se)​
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                                        CERTIFICATE OF SERVICE

        I, Jun Dam, hereby certify that on 2/18/25, I electronically filed the foregoing

        MOTION TO CONFIRM JURISDICTION AND STAY BANKRUPTCY

        PROCEEDINGS with the Clerk of the Court using the CM/ECF system, which

        will send notification of such filing to all registered CM/ECF participants.

        I declare under penalty of perjury under the laws of the United States that the

        foregoing is true and correct.




                                                        Dated this 18th day of February, 2025

        ​       ​      ​     ​      ​       ​    ​      /s/ Jun Dam

        ​       ​      ​     ​      ​       ​    ​      Jun Dam (Pro Se)​
        ​       ​      ​     ​      ​       ​    ​      5432 Geary Blvd #535
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